






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-06-00349-CV






Dennis Sells, Appellant


v.



Texas Department of Family and Protective Services, Appellee





FROM THE DISTRICT COURT OF MILAM COUNTY, 20TH JUDICIAL DISTRICT


NO. 30,332, HONORABLE EDWARD P. MAGRE, JUDGE PRESIDING 







M E M O R A N D U M   O P I N I O N



	Appellant Dennis Sells filed notice of appeal on June 20, 2006.  The clerk's record
was filed on June 21, 2006, and the reporter's record was filed on November 10, 2006.  Appellant's
brief was due on November 30, 2006.  The clerk of this Court sent notice to appellant's last known
address that his brief was overdue and that this appeal would be dismissed for want of prosecution
if appellant did not respond to this Court by May 17, 2007.  To date, appellant has not responded to
this Court's notice.  Accordingly, we dismiss the appeal for want of prosecution.  Tex. R. App. P.
42.3(b), (c).







					__________________________________________

					Jan P. Patterson, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Prosecution

Filed:   June 15, 2007


